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   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY
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   UNITED STATES OF AMERICA,                                    :     Crim. No.: 11cr165 (KSH)

                                                                :     ORDER AMENDING
                                                                      JUDGMENT IN A
                    -against-                                   :     CRIMINAL CASE AS TO
                                                                      SURRENDER DATE
                                                                      ONLY

                                                                :
   PASQUALE ZINNA,
        a/k/a “PATTY ZINNA,” and “                              :
        PATRICK ZINNA,” et. al.
                                                                :

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                    WHEREAS the defendant, Pasquale Zinna, has made application for an

   earlier surrender date, the U.S. Attorney’s office has no objection to this application, and

   good cause appears to grant the application;

                    IT IS HEREBY ORDERED that the Judgment signed June 6, 2012 and

   entered June 8, 2012 as Doc #101 is hereby amended and the defendant shall surrender

   for service of sentence at the institution previously designated by the Bureau of Prisons,

   Fort Dix SCP, Fort Dix, New Jersey before 12 noon on July 15, 2012.



                                                                SO ORDERED:



                                                        /s/ Katharine S. Hayden
                                                        ______________________________
                                                        KATHARINE S. HAYDEN, U.S.D.J.

   Dated: June 29, 2012
